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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

In re:

VITAL PHARMACEUTICALS, INC., et al.,                        Case No.: 22-17842-PDR

                                                            Chapter 11
      Debtors.                                              (Jointly Administered)
_______________________________________/

   EMERGENCY MOTION FOR ENTRY OF AN ORDER COMPELLING DEBTORS
       TO ABANDON ANY ALLEGED INTEREST IN TRADEMARKS OF
          NON-DEBTOR ENTITY, ENTOURAGE IP HOLDING, LLC

              ** Emergency Hearing Requested Pursuant to Local Rule 9075-1 **

                John H. Owoc is the sole owner of an entity named Entourage
                IP Holding, LLC ("Entourage"). Entourage owns a number of
                trademarks.

                The Debtors wrongfully assert ownership of thirteen (13)
                trademarks owned by Entourage, despite acknowledging that
                Entourage owns an additional forty-five (45) of its trademarks.
                In light of this dynamic, and the pendency of a sale in which the
                Debtors may attempt to implicate Entourage trademarks,
                Entourage requests the entry of an order compelling the
                Debtors to abandon any alleged ownership in the trademarks.

                Given imminent sale deadlines, Entourage requests that this
                matter be scheduled for hearing on an emergency basis, on or
                before Friday June 9, 2023.

         Entourage IP Holding, LLC ("Entourage"), pursuant to 11 U.S.C. § 554(b), respectfully

requests that the Court enter an order compelling the above-captioned, jointly administered

debtors, Vital Pharmaceuticals, Inc., et al., to abandon any alleged ownership interest in the

trademarks listed on Exhibit “B” hereto. In support of this request, Entourage states:

         1.     These jointly administered cases were filed to seek bankruptcy protection for the

following entities: (i) Vital Pharmaceuticals, Inc. (“VPX”); (ii) Bang Energy Canada, Inc.; (iii)



{2467/000/00556606}                         1
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JHO Intellectual Property Holdings, LLC; (iv) JHO Real Estate Investment, LLC; (v) Quash

Seltzer, LLC; (vi) Rainbow Unicorn Bev LLC; and (vii) Vital Pharmaceuticals International Sales,

Inc. (collectively, the “Debtors”).1 Mr. Owoc is the 100% owner of all of the Debtors, a fact which

is not in dispute.

        2.      Mr. Owoc is also the sole owner of many other entities, including: (a) Bang Energy

Family, LLC; (b) Bang Gyms, LLC; (c) Bang Holdings Corp; (d) Bang Vapes, LLC; (e)

Candemonium, LLC; (f) Captain Crunch Fishing LLC; (g) Cognitive IP Holdings, LLC; (h)

Entourage IP Holdings, LLC; (i) Fun Energy, LLC; (j) Liquid IP Holdings, LLC; (k) The Fixx,

LLC; and (l) Ultra Experiences LLC (each a “Non-Debtor IP Entity” and collectively the “Non-

Debtor IP Entities”).

        3.      In or around April 2023, in house IP counsel for Debtors, Gideon Eckhouse,

contacted the undersigned to inquire what attorney was taking over the trademark files of the Non-

Debtor IP Entities. (At the time of the communication, Mr. Eckhouse was the attorney of record

for the trademark files.) In response, the undersigned contacted IP counsel for the Non-Debtor IP

Entities, Allen Bennett, to effectuate to the takeover of the trademark files. As is standard and

customary in cases where another attorney is taking over the prosecution of a trademark application

or registration with the United States Patent and Trademark Office (“USPTO”),2 the Debtors’ IP

counsel filed revocations of powers of attorney as to Mr. Eckhouse and appointments of power of

attorney appointing Mr. Bennett for seventy-seven (77) trademark files for the Non-Debtor IP



1
        Jack Owoc, the sole shareholder of all of the Debtors, did not authorize the filing of the bankruptcy
cases as to any entity other than VPX.
2
        There would be no “assignment” to file as no trademarks are being assigned. The trademarks were
and will still be owned by Non-Debtor IP Entities and the existing and/or new attorneys need to file the
revocations and appointments of powers of attorney. The revocation and appointment of a power of
attorney is akin to filing a “Substitution of Counsel” in a District Court or Bankruptcy Court case.
{2467/000/00556606}                              2
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Entities.3 See Exhibit “A,” a spreadsheet of all of the Non-Debtor IP Entities’ trademarks wherein

revocations of powers of attorney and appointments of powers of attorney were filed by Debtors’

counsel for Non-Debtor IP Entities’ Counsel, Mr. Bennett, to take over the prosecution of said

trademarks.

        4.      However, Debtors’ IP counsel did not take these actions with respect to thirteen

(13) trademark files, which are owned by Non-Debtor IP Entity, Entourage IP Holdings, LLC. See

Exhibit “B,” a spreadsheet of the thirteen (13) trademarks that Debtors’ IP counsel did not file

revocations and appointments of powers of attorney (“Trademarks”). When asked why the

revocations and appointments of powers of attorney for these Trademarks were not filed, Debtors’

IP counsel informed Non-Debtor IP Entities’ Counsel that “[t]he remaining Entourage applications

are part of core IP that relates to the needs and products of our operating entity, and Chapter 11

debtor, Quash Seltzer, LLC. Due the nature of these marks, we will maintain responsibility for

their prosecution and maintenance.”4 See Exhibit “C,” email exchange between Mr. Eckhouse and

Mr. Bennett.

        5.      The Debtors do not own Entourage IP Holdings LLC. Mr. Owoc owns Entourage

Holdings, LLC. The Articles of Organization filed on August 6, 2020, with Florida’s Division of



3
        Debtors IP Counsel has also requested that the appropriate Non-Debtor Entity take over Trademark
Trial and Appeal Board (“TTAB”) proceedings. The trademark attorneys are in the process of filing the
appropriate notices of appearance and substitutions of counsel.
4
        If Debtors' threshold is that alleged “core IP” belongs to their bankruptcy estates, regardless of
actual ownership, then Entourage should be able to obtain JHO Intellectual Property Holdings, LLC
trademarks which are not part of Debtors’ “core IP,” which would likely be hundreds. A perfect example
is JHO Intellectual Property Holdings, LLC’s trademark application for ADARIA, Serial No 90/746337,
which is the name of one of Mr. and Mrs. Owoc’s daughters, Adaria. JHO Intellectual Property Holdings,
LLC and VPX undoubtedly have zero interest in launching a dietary supplement or energy drink named
after Mr. and Mrs. Owoc’s daughter after they have fired them and instituted scored earth litigation in this
adversary proceeding against them. The Owocs reserve all legal rights and recourse with respect to this
argument.


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Corporations unequivocally show that Mr. Owoc is the only member of Entourage IP Holdings,

LLC. See Exhibit “D,” Articles of Organization of Entourage IP Holdings, LLC.5

         6.       There is no reason for the Debtors to maintain ownership claims regarding

Entourage intellectual property.6 In fact, of the thirteen (13) trademarks that Debtors refuse to

allow Entourage IP Holdings, LLC to take over, eight (8) of them are intent to use applications

(see Exhibit “B”) where are not assignable, except under very limit circumstances, which are not

applicable here. See 15 U.S.C. §1060(a)(1).

         7.       The Non-Debtor IP Entities' attorneys intend to file revocations of Mr. Eckhouse

and appointments of powers of attorney to appoint Mr. Bennett with the USPTO Corporations, on

or about Monday, June 5, 2023, to correct the USPTO’s regarding Entourage IP Holdings, LLC’s

attorney reflected as the attorney of record for all of the Trademarks.

         8.       In light of the foregoing, the bankruptcy estates do not hold interests in the

Trademarks. The estates should be compelled to abandon any alleged interests in the trademarks

under 11 U.S.C. § 554.

         WHEREFORE, Mr. Owoc respectfully request that the Court enter an order: (1)

compelling the Debtors to abandon any alleged ownership interest in the thirteen (13) trademarks




5
         Mr. Owoc also anticipates filing a Motion for Entry of an Order to Show Cause and for Other Relief
as to all of Mr. Owoc’s Non-Debtor Entities and unauthorized filings, specifically as to Entourage IP
Holdings, LLC, the Annual Report filed on March 17, 2023, by Mr. Gregg Metzger as an “authorized
person,” when he was, in fact, not authorized to file the Annual Report of any documents on behalf of Mr.
Owoc’s solely owned entity, Entourage IP Holdings, LLC.
6
         Interestingly, of those forty-six (46) marks that Mr. Eckhouse substituted Mr. Bennett in as the attorney of


record, two of them are BANG marks (BANG and BANG POPS, words only); one the                                 logo in


color; and one is the        logo. The fact that the Debtors substituted Mr. Bennett is as the attorney of record for
these marks, with obvious ties to the Debtors' business, casts doubt on their "core IP" argument.

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identified on Exhibit “B”; and (2) grant such other relief as the Court deems equitable and

appropriate.

                               ATTORNEY CERTIFICATION

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida and I am in compliance with the additional qualifications to

practice in this Court set forth in Local Rule 2090-1(A).

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served by Notice

of Electronic Filing via CM/ECF to those parties registered to receive such notice in this case on

June 2, 2023.

                                             SHRAIBERG PAGE P.A.
                                             Attorneys for Entourage
                                             2385 NW Executive Center Drive, Suite 300
                                             Boca Raton, Florida 33431
                                             Telephone: 561-443-0800
                                             Facsimile: 561-998-0047
                                             Email: bss@slp.law

                                             By:     /s/ Bradley Shraiberg
                                                     Bradley Shraiberg
                                                     Fla Bar No. 121622




{2467/000/00556606}                          5
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           Exhibit A
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Client                        Mark                              Serial No.

Bang Energy Family, LLC       BANG ENERGY FAMILY                97/371,844

Bang Gyms, LLC                BANG GYMS                         90/815,219

Bang Holdings Corp            BANG                              86/598,258

Bang Holdings Corp            BANGVAPORIZERS                    86/210,260

BANG VAPES, LLC               BANG VAPOR                        86/598,261

BANG VAPES, LLC               BANGVAPS                          86/210,253

BANG VAPES, LLC                                                 90/792,878



Candemonium, LLC              CANDEMONIUM                       97/028,402

Captain Crunch Fishing, LLC   CAPTAIN CRUNCH                    97/512,566

Cognitive IP Holdings, LLC    HEMPIRE                           97/062,621

Cognitive IP Holdings, LLC    STOKED                            88/262,464

Entourage IP Holdings, LLC    5TH FUEL                          90/232,539

Entourage IP Holdings, LLC    ADARIA                            90/746,412

Entourage IP Holdings, LLC    AQUA FUSION                       97/252,631

Entourage IP Holdings, LLC    AQUA FUZION                       97/047,657

Entourage IP Holdings, LLC                                      90/736,153



Entourage IP Holdings, LLC    BANG                              90/736,091

Entourage IP Holdings, LLC    BANG POPS                         90/736,550
Entourage IP Holdings, LLC                                      90/736,179



Entourage IP Holdings, LLC    BE                                97/246,029

Entourage IP Holdings, LLC    BRINGING THE BANG                 90/696,959

Entourage IP Holdings, LLC    BURST                             97/470,895

Entourage IP Holdings, LLC    EINSTEIN WATER                    90/232,068

Entourage IP Holdings, LLC    FROSÉ ROSÉ                        90/736,224

Entourage IP Holdings, LLC    GO HARD OR GO HOME                90/671,941

Entourage IP Holdings, LLC    GUESS                             97/062,634

Entourage IP Holdings, LLC    HARD SHOT                         90/736,523

Entourage IP Holdings, LLC    HYDRATION NATION                  97/372,672
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Client                       Mark                             Serial No.

Entourage IP Holdings, LLC   HYDRATION SENSATION              97/045,789

Entourage IP Holdings, LLC   HYDRATION SENSATION              97/045,789

Entourage IP Holdings, LLC   HYDRO FUZION                     90/232,326

Entourage IP Holdings, LLC   IBANG                            90/696,881

Entourage IP Holdings, LLC   JUMP                             90/235,807

Entourage IP Holdings, LLC   KETOLYTES                        90/755,764

Entourage IP Holdings, LLC   LOVE                             97/549,236

Entourage IP Holdings, LLC   MELTDOWN SECRET                  90/172,574

Entourage IP Holdings, LLC   MIAMI ENERGY                     97/474,063

Entourage IP Holdings, LLC   MIAMI UNICORN                    97/466,402

Entourage IP Holdings, LLC   OTHERWORLDLY                     97/549,324

Entourage IP Holdings, LLC   OZONE                            97/074,922

Entourage IP Holdings, LLC   PLANET POMEGRANATE               90/674,876

Entourage IP Holdings, LLC   PURE BLOOD                       97/125,769

Entourage IP Holdings, LLC   PURPLE KIDDLES                   90/736,269

Entourage IP Holdings, LLC   QUASH                            97/062,649

Entourage IP Holdings, LLC   QUIZ                             97/062,659

Entourage IP Holdings, LLC   SECRET                           90/172,534

Entourage IP Holdings, LLC   STRAWBERRY BLAST                 90/736,285

Entourage IP Holdings, LLC   T@GGED                           97/104,402

Entourage IP Holdings, LLC   THE CURE                         97/062,677

Entourage IP Holdings, LLC   ULTRACORN                        97/405,057

Entourage IP Holdings, LLC   UNDOPE                           90/123,906

Entourage IP Holdings, LLC   VIBRATE                          97/062,684

Entourage IP Holdings, LLC   VOOZ                             97/062,691

Entourage IP Holdings, LLC   VR                               90/249,518

Entourage IP Holdings, LLC   WETTER THAN WATER                90/232,471

Entourage IP Holdings, LLC   ZOOZ                             97/062,695

Fun Energy, LLC              100% LOVE                        97/601,594

Fun Energy, LLC              ABOVE                            97/609,872

Fun Energy, LLC              ARTIST                           97/601,584
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Client                    Mark                             Serial No.

Fun Energy, LLC           FUEL YOUR DESTINY                97/670,493

Fun Energy, LLC           FUNERGY                          97/517,840

Fun Energy, LLC           KABOOM                           97/644,739

Fun Energy, LLC           MEDIA                            97/610,288

Liquid IP Holdings, LLC   BABY BANG                        97/735,912

Liquid IP Holdings, LLC   BODY, BRAIN, & FOCUS             97/750,899

Liquid IP Holdings, LLC   COOLAGEN                         97/774,988

Liquid IP Holdings, LLC   ENTICE                           97/735,917

Liquid IP Holdings, LLC   FUEL YOUR FANTASY                97/750,886

Liquid IP Holdings, LLC   HOCUS-POCUS                      97/744,644

Liquid IP Holdings, LLC   MANGO PICANTE                    97/802,515

Liquid IP Holdings, LLC   MIND GAMES                       97/802,529

Liquid IP Holdings, LLC   SWIRLY POP                       97/816,426

Liquid IP Holdings, LLC   ZOOM                             97/747,407

THE FIXX, LLC             MY FIX                           97/042,534

THE FIXX, LLC             THE FIXX                         90/401,771

Ultra Experiences, LLC    ULTRA SOCIAL                     97/522,722
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           Exhibit B
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Owner                         Mark                            Serial No.
Entourage IP Holdings, LLC                                    90/104,204



Entourage IP Holdings, LLC                                    90/674,518



Entourage IP Holdings, LLC    BANG                            90/104,169
Entourage IP Holdings, LLC    BANG                            90/674,547
Entourage IP Holdings, LLC    BANG HARD SELTZER               90/805,895
Entourage IP Holdings, LLC    BANG SELTZER                    97/062,605
Entourage IP Holdings, LLC    BLUE & YELLOW LIMONCELLO        90/674,702
Entourage IP Holdings, LLC    FROSÉ ROSÉ                      90/188,775
Entourage IP Holdings, LLC    GEORGIA PEACH                   90/674,726
Entourage IP Holdings, LLC    LEMON DROP                      90/674,735
Entourage IP Holdings, LLC    PURPLE KIDDLES                  90/188,748
Entourage IP Holdings, LLC    WYLDIN' WATERMELON              90/618,632
Entourage IP Holdings, LLC    WYLDIN' WATERMELON              90/674,896
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           Exhibit C
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From: Gideon Eckhouse <gideon.eckhouse@bangenergy.com>
Sent: Thursday, May 11, 2023 11:00 AM
To: allen@afbip.com
Subject: RE: Trademark Transfers

Hi Allen,

The four vape marks are subject to an ongoing opposition and therefore cannot be transferred through
the TEAS form. However, I sent you the corresponding proceeding numbers in the attached email for you
to put in an appearance and take over. I believe you would have to file a motion with the Board to change
ownership of a mark in an opposition, but please advise if there is another method where I can assist. The
Elite application is subject to a consolidated opposition over which we will retain control. Elite also no
longer exists so JHO is the proper owner regardless of the opposition.

Some of the Entourage applications are also subject to ongoing oppositions where we discussed you
putting in an appearance. The remaining Entourage applications are part of core IP that relates to the
needs and products of our operating entity, and Chapter 11 debtor, Quash Seltzer, LLC. Due the nature of
these marks, we will maintain responsibility for their prosecution and maintenance.

Best,
Gideon


Gideon Eckhouse
Chief IP Counsel
gideon.eckhouse@bangenergy.com

BANG | VPX | REDLINE
1600 N. Park Drive Weston, FL 33326
(954) 740-0501

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                                                    1
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From: allen@afbip.com <allen@afbip.com>
Sent: Friday, May 5, 2023 3:34 PM
To: Gideon Eckhouse <gideon.eckhouse@bangenergy.com>
Subject: Trademark Transfers

Hi Gideon,

Thanks for filing the poa’s for the trademarks. There are several I have on my list from the client that were not
transferred. Please let me know if there is an issue with transferring any of these marks:

 Owner                            Mark                                SN
 BANG HOLDINGS CORP.              BANG                                86/598,258
 BANG HOLDINGS CORP.              BANGVAPORIZERS                      86/210,260
 BANG VAPES, LLC                  BANG VAPOR                          86/598,261
 BANG VAPES, LLC                  BANGVAPS                            86/210,253
 Elite IP Holdings, LLC           HYDRO H2                            88/861,094
 Entourage IP Holdings, LLC       B                                   90/674,518
 Entourage IP Holdings, LLC       B                                   90/104,204
 Entourage IP Holdings, LLC       BANG                                90/674,547
 Entourage IP Holdings, LLC       BANG                                90/736,091
 Entourage IP Holdings, LLC       BANG                                90/736,179
 Entourage IP Holdings, LLC       BANG                                90/104,169
 Entourage IP Holdings, LLC       BANG HARD SELTZER                   90/805,895
 Entourage IP Holdings, LLC       BANG POPS                           90/736,550
 Entourage IP Holdings, LLC       BANG SELTZER                        97/062,605
 Entourage IP Holdings, LLC       BLUE & YELLOW LIMONCELLO            90/674,702
 Entourage IP Holdings, LLC       BURST                               97/470,895
 Entourage IP Holdings, LLC       FROSÉ ROSÉ                          90/188,775
 Entourage IP Holdings, LLC       GEORGIA PEACH                       90/674,726
 Entourage IP Holdings, LLC       IBANG                               90/696,881
 Entourage IP Holdings, LLC       LEMON DROP                          90/674,735
 Entourage IP Holdings, LLC       PURPLE KIDDLES                      90/188,748
 Entourage IP Holdings, LLC       WYLDIN' WATERMELON                  90/618,632
 Entourage IP Holdings, LLC       WYLDIN' WATERMELON                  90/674,896




Regards,

Allen F. Bennett




                                                        2
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Mailing Address:                        Appointments Address:
12059 Rockwell Way                      7999 N. Federal Hwy, Ste 202
Boca Raton, FL 33428                    Boca Raton, FL 33487
PH: 561-860-0654
www.afbip.com
To make a payment by credit card, click here
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If you have reason to believe this email is suspicious, forward it for inspection to Security@BangEnergy.com.




                                                                             3
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